Case 2:24-cv-02886-WLH-SK            Document 64 Filed 06/07/24         Page 1 of 22 Page ID
                                           #:1198



 1   WILLIAM H. SHIBLEY
 2   California State Bar No. 56093
     LLOYD & MOUSILLI, PLLC
 3   11807 Westheimer Road
 4   Suite 550 PMB 944
     Houston, TX 77077
 5   Tel: (512) 609-0059
 6   Fax: (281) 783-8565
     litigation@lloydmousilli.com
 7
     ATTORNEYS FOR DEFENDANTS
 8

 9                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DISTRICT
11
     DAVID HOUGH, ET AL                                    Case No.: 2:24-cv-02886-WLH
12

13                       Plaintiffs,                       Assigned for all purposes to:
                                                           JUDGE WESLEY L. HSU
14

15                                                         DEFENDANTS RYAN CARROLL;
                                                           MAX K. DAY; MAX O. DAY;
16                                                         MICHAEL DAY; YAX
17                                                         ECOMMERCE LLC; PRECISION
                                                           TRADING GROUP, LLC; WA
18   v.                                                    DISTRIBUTION LLC;
19                                                         PROVIDENCE OAK
                                                           PROPERTIES, LLC; WA AMAZON
20                                                         SELLER LLC; MKD
21                                                         INVESTMENT ADVISOR, LLC;
                                                           MKD FAMILY BENEFICIARY,
22                                                         LLC; MKD FAMILY PRIVATE
23                                                         MANAGEMENT COMPANY, LLC;
                                                           MAX DAY CONSULTING, LLC;
24                                                         HOUTEX FARM EQUITY
     RYAN CARROLL, ET AL
25                                                         PARTNERS LLC; BUSINESS
                            Defendants.                    FINANCIAL SOLUTIONS
26                                                         ADVISORY LLC; EVO MAXX
27                                                         LLC; YAX IP AND
                                                           MANAGEMENT INC. (D.B.A.
28
                                                      -1-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK                   Document 64 Filed 06/07/24                      Page 2 of 22 Page ID
                                                  #:1199



 1                                                                      “FULFILLABLE”); WWKB LLC;
 2                                                                      AND DREAMS TO REALITY
                                                                        LLC’S RESPONSE TO
 3                                                                      PLAINTIFFS’ MOTION FOR
 4                                                                      SANCTIONS

 5                                                                      Motion Hearing: 6/28/24, 1:30 p.m. PT
 6
                                                                        Action Filed: April 9, 2024
 7                                                                      Hearing: June 7, 2024, 1:30 p.m. PT
                                                                        Trial Date: N/A
 8

 9
10                                             TABLE OF CONTENTS
11
     MEMORANDUM OF POINTS AND AUTHORITIES ....................................... - 4 -
12    I. SUMMARY.................................................................................................... - 4 -
13    II. FACTUAL AND PROCEDURAL BACKGROUND ................................... - 6 -
      III. ARGUMENT AND AUTHORITIES ....................................................... - 12 -
14       A. Sanctions Under the Court’s Inherent Power are Inappropriate Because the
15       Defendants Substantially Complied with The Court’s Order and Did Not
         Willfully Disobey the Court’s Order ............................................................... - 13 -
16       B. Sanctions Under Federal Rules of Civil Procedure 37(B)(2)(C) are
17       Inappropriate Because Any Short Coming of the Defendants’ Discovery
         Responses was Justifiable Given the Complexity of the Case and Expedited
18       Nature of the Court’s Order ............................................................................. - 16 -
19       C. Sanctions Under Federal Rules of Civil Procedure 37(B)(2)(C) Would be
         Unjust Because a Total Failure to Respond is Required Before Imposing
20       Sanctions. This Is a Complex Case with Twenty (20) Defendants with Multiple
21       Accounts, and Defendants Substantially Complied with the Court’s Order. .. - 18 -
         D. Sanctions Against Defense Counsel are Inappropriate Because No Evidence
22       Exists That Defense Counsel is at Fault for Any Perceived Shortcomings in
23       Defendants’ Discovery Responses................................................................... - 18 -
         E. Any Sanctions Imposed Should be Lenient Because Courts Use Less
24
         Stringent Sanctions When They Would be Reasonably Suited to Deter the Acts in
25       Question ........................................................................................................... - 19 -
      IV. CONCLUSION ......................................................................................... - 21 -
26
     CERTIFICATE OF COMPLIANCE ................................................................... - 22 -
27   CERTIFICATE OF SERVICE ............................................................................. - 22 -
28
                                                      -2-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK                     Document 64 Filed 06/07/24                      Page 3 of 22 Page ID
                                                    #:1200



 1                                            TABLE OF AUTHORITIES
 2
     Cases
 3
     America Unites for Kids v. Rousseau, 985 F.3d 1075 (9th Cir.2021) .................... - 13 -
 4   Bass v. Jostens, Inc., 71 F.3d 237 (6th Cir.1995) ................................................... - 19 -
     Brewer v. Leprino Foods Co., Inc., 2019 WL 356657 (E.D. Cal. Jan. 29, 2019) .. - 16 -
 5
     CEATS, Inc. v. TicketNetwork, Inc., 71 F.4th 314 (5th Cir. 2023) ......................... - 17 -
 6   CEATS, Inc., 71 F.4th ............................................................................................. - 20 -
     Chambers v. NASCO, Inc., 501 U.S. 32 (1991) .......................................... - 13 -, - 14 -
 7
     Cine Forty-Second St. Theatre Corp. v. Allied Artists Pictures Corp., 602 F.2d 1062
 8     (2d Cir. 1979) ...................................................................................................... - 18 -
 9
     FDIC v. Conner, 20 F.3d 1376 & n.3 (5th Cir.1994) ............................................. - 19 -
     Fink v. Gomez, 239 F.3d 989 (9th Cir. 2001) ......................................................... - 14 -
10   Fjelstad v. American Honda Motor Co., 762 F.2d 1334, 1339–40 (9th Cir.1985) - 17 -
11
     Founding Ch. of Scientology v. Webster, 802 F.2d 1448 (D.C. Cir. 1986)............ - 20 -
     Holgate v. Baldwin, 425 F.3d 671 Fed. R. Serv. 3d 1077 (9th Cir. 2005) ............. - 13 -
12   In re First City Bancorporation, 282 F.3d 864, 867 (5th Cir.2002) ...................... - 13 -
13
     In re Williams, Bkrtcy.D.R.I.1995 B.R. 721 .......................................................... - 19 -
     Insurance Corp. of Ir., Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694
14     (1982) .................................................................................................................. - 17 -
15
     Leprino Foods Co., Inc., 2019 WL 356657............................................................ - 17 -
     S.E.C. v. Smith, 798 F. Supp. 2d 412 (N.D. N.Y. 2011) ........................................ - 13 -
16   Satcorp Intern. Group v. China Nat. Import & Export Corp., 917 F.Supp. 271
17     (S.D.N.Y.1996).................................................................................................... - 19 -
     Sik Gaek, Inc. v. Harris, 789 F.3d 797 (7th Cir.2015) ........................................... - 16 -
18   The Procter & Gamble Co. v. Haugen, 427 F.3d 727 (10th Cir. 2005) ................. - 20 -
19   Thomas v. Tenneco Packaging Co., 293 F.3d 1306 (11th Cir. 2002) .................... - 13 -
     U.S. v. Sumitomo Marine & Fire Ins. Co., Ltd., 617 F.2d 1365 (9th Cir. 1980) ... - 18 -
20   Universal Health Group v. Allstate Ins. Co., 703 F.3d 953 (6th Cir. 2013) .......... - 20 -
21   Wilson v. Volkswagen, 561 F.2d 494 (4th Cir. 1977) ............................................. - 19 -
   Statutes
22
   Federal Rule of Civil Procedure 37 ........................................................................ - 16 -
23 Federal Rules of Civil Procedure 37 ....................................................................... - 12 -

24 Other Authorities
     2011 WL 13136031 (N.D. N.Y. 2011) ................................................................... - 13 -
25
     710 F.3d 87 (2d Cir. 2013) ..................................................................................... - 14 -
26

27

28
                                                      -3-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK            Document 64 Filed 06/07/24     Page 4 of 22 Page ID
                                           #:1201



 1          COME NOW SPECIALLY APPEARING DEFENDANTS RYAN
 2
     CARROLL; MAX K. DAY; MAX O. DAY; MICHAEL DAY; YAX
 3

 4   ECOMMERCE               LLC;      PRECISION          TRADING   GROUP,     LLC;    WA

 5   DISTRIBUTION LLC; PROVIDENCE OAK PROPERTIES, LLC; WA
 6
     AMAZON SELLER LLC; MKD INVESTMENT ADVISOR, LLC; MKD
 7

 8   FAMILY BENEFICIARY, LLC; MKD FAMILY PRIVATE MANAGEMENT

 9   COMPANY, LLC; MAX DAY CONSULTING, LLC; HOUTEX FARM
10
     EQUITY PARTNERS LLC; BUSINESS FINANCIAL                                  SOLUTIONS
11

12   ADVISORY LLC; EVO MAXX LLC; YAX IP AND MANAGEMENT INC.

13   (D.B.A. “FULFILLABLE”); WWKB LLC; DREAMS TO REALITY LLC
14
     (“Defendants”), and hereby files Defendants’ Motion for Sanctions Against
15

16   Jurisdictional Defendants (“Motion”) and respectfully shows the Court as follows:
17                   MEMORANDUM OF POINTS AND AUTHORITIES
18
                                            I.     SUMMARY
19

20   1.     Plaintiffs have filed a lawsuit asserting four claims against twenty (20)
21   different defendants related to the unfortunate, but ultimately common-place, failure
22
     of Defendants’ business, and by extension the failure of Plaintiffs’ own individual
23

24   businesses.
25 2.       Plaintiffs are understandably upset at their losses. It is the same frustration
26
     that eighty percent (80%) of new business owners feel, and the same frustration
27

28 Defendants themselves feel.
                                                      -4-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK            Document 64 Filed 06/07/24   Page 5 of 22 Page ID
                                           #:1202



 1 3.       Plaintiffs have asked for a voluminous number of financial records, something
 2
     quite foreseeable in a situation with twenty (20) different Defendants, some with
 3

 4 multiple financial accounts.

 5 4.       Defendants have used their best efforts to gather this information and produce
 6
     it. The sheer volume of what needs to be tracked down and the expedited nature of
 7

 8 the process make omissions and disagreements foreseeable. The discovery process

 9 foresees these problems and expects the parties to work them out in an interactive
10
     process, without the need to court intervention.
11

12 5.       To date, Defendants have responded to every discovery request made by

13 Plaintiffs and have consistently attempted to engage Plaintiffs’ Counsel to

14
     understand what he thinks exists and still needs to be produced.
15

16 6.       Plaintiff Counsel seems oblivious to the volume of his requests, the number of
17 defendants involved, the time it takes to marshal responsive documents, and the

18
     expedited nature of his demands. He also quickly forgets any effort by Defense
19

20 Counsel to comply with the original demands or his subsequent objections.

21 7.       Defense Counsel automatically assumes that any inability to meet his
22
     expectations or provide the proof that he assumes exists amounts to an intentional
23

24 exercise in bad faith. The same for any inconsistency in documents provided.

25 8.       Plaintiff Counsel’s zealous advocacy for his clients is understandable, even
26
     laudable, but he seems oblivious that there are no jewel movements in life, and
27

28
                                                      -5-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK            Document 64 Filed 06/07/24     Page 6 of 22 Page ID
                                           #:1203



 1 inconsistency and non-existence of documents are the absence of proof, not proof

 2
     itself.
 3

 4 9.          All of this culminates in Plaintiffs Counsel’s repeated baseless motions for

 5 sanctions against opponents and Plaintiff Counsel. It is abusive and unprofessional,

 6
     particularly where no evidence exists that Defense Counsel has caused any of the
 7

 8 discovery issues at hand.

 9 10.         Plaintiff Counsel has made two prior requests for sanctions in other related
10
     cases based on the same assumptions of bad faith in discovery when he does not get
11

12 what he wants and assumes what he wants exists. Benjamin David v. Wealth

13 Assistants LLC and Individual Claimants v. Wealth Assistants LLC. He has been

14
     denied each time. This time should be no different. See Exhibit 1, Benjamin David
15

16 v. Wealth Assistants LLC, Correspondence with Case Manager and Plaintiffs’

17 Counsel.

18
                     II.   FACTUAL AND PROCEDURAL BACKGROUND
19

20 11.         On April 9, 2024, Plaintiffs David Hough, Mouloud Hocine, Jennifer
21 Lehmkuhl Hill, Amund Thompson, and Paul Panico filed a Complaint against

22
     twenty (20) separate Defendants. See Dkt. 1.
23

24 12.         Plaintiffs asserted causes of action for conspiracy to commit fraud, fraudulent
25 transfers, conspiracy to violate California Business and Professions Code §17200,

26
     and violations of securities laws, despite the fact that they each have valid written
27

28 contracts that prohibit such claims. See Dkt. 40.
                                                      -6-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK            Document 64 Filed 06/07/24   Page 7 of 22 Page ID
                                           #:1204



 1 13.      On April 9, 2024, Plaintiffs also filed an Ex Parte Application for a
 2
     Temporary Restraining Order and an Order to Show Cause regarding a Preliminary
 3

 4 Injunction (“Application”), seeking the extraordinary remedy of a freeze on all of

 5 the Defendants’ assets pre-judgment as well as a disclosure of all their financial

 6
     information pre-judgment. See Dkt. 9.
 7

 8 14.      On April 11, 2024, Defendants filed an Opposition to Plaintiffs’ Application

 9 (“Opposition”) on the grounds that (a) this Court lacked personal jurisdiction over
10
     the Defendants; (b) the case should be compelled to binding arbitration pursuant to
11

12 the Plaintiffs’ written contracts; (c) Plaintiffs failed to establish a likelihood of

13 success on the merits on any of their claims; (d) Plaintiffs’ evidence of alleged

14
     representations outside the written contracts constituted inadmissible parol evidence;
15

16 and other factors. See Dkt. 13.

17 15.      On April 12, 2024, Plaintiffs filed a Reply to Defendants’ Opposition to
18
     Plaintiffs’ Application. See Dkt. 15.
19

20 16.      On April 15, 2024, this Court issued a Temporary Restraining Order
21 (“TRO”), which held that the Court did not have personal jurisdiction over any of

22
     the Defendants apart from the Defendants Ryan Carroll; Max O. Day; Max K. Day;
23

24 Michael Day; Yax Ecommerce LLC; WA Distribution LLC; and Precision Trading

25 Group, LLC (the
                   “Original Jurisdictional Defendants”) based upon the facts
26
     available to the Court at the present time. See Dkt. 17.
27

28
                                                      -7-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK            Document 64 Filed 06/07/24   Page 8 of 22 Page ID
                                           #:1205



 1 17.      On April 26, 2024, the Original Jurisdictional Defendants submitted their
 2
     Supplemental Brief in Opposition to Plaintiffs’ Application (“Supplemental Brief”)
 3

 4 in accordance with the Court’s Minute Order. See Dkt. 31.

 5 18.      On April 28, 2024, the Original Jurisdictional Defendants filed a Motion to
 6
     Compel Arbitration and a Motion to Stay. See Dkt. 34. For purposes of judicial
 7

 8 efficiency, Defendants hereby incorporate by reference the arguments previously

 9 made in their previously filed Opposition (Dkt. 13), their Supplemental Brief (Dkt.
10
     31), and their Motion to Compel Arbitration (Dkt. 34) and will not be restating all of
11

12 the arguments in their Opposition and Supplemental Brief here.

13 19.      On April 30, 2024, Defendants filed their original Motion to Dismiss under
14
     Rule 12(b)(2) for lack of personal jurisdiction and Rule 12(b)(6) for failure to state a
15

16 claim. See Dkt. 40. As set forth in Defendants’ Opposition and the Jurisdictional

17 Defendants’ Motion to Compel Arbitration, this Court lacks personal jurisdiction

18
     over the Defendants and Plaintiffs have failed to state a claim upon which relief may
19

20 be granted on any of their causes of action.

21 20.      On May 13, 2024, this Court issued an Order granting a Preliminary
22
     Injunction Freezing Assets. See Dkt. 49. In that Order, the Court found “there is not
23

24 enough evidence to establish personal jurisdiction over Entity Defendants Precision

25 Trading Group, LLC and WA Distribution LLC.” Id. at p. 5.

26

27

28
                                                      -8-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK            Document 64 Filed 06/07/24   Page 9 of 22 Page ID
                                           #:1206



 1 21.      On May 20, 2024, Plaintiffs filed their First Amended Complaint (“Amended
 2
     Complaint”), alleging identical causes of action, but swapping out three of the
 3

 4 plaintiffs and adding numerous additional defendants. See Dkt. 56.

 5 22.      On May 31, 2024, Defendants filed their Amended Motion to Dismiss and
 6
     Plaintiffs also filed a Motion for Sanctions Against Jurisdictional Defendants on the
 7

 8 same day.

 9 23.      On April 15, 2024, Defense Counsel was Ordered to disclose financial
10
     accounts to Plaintiffs’ Counsel. Dkt. 17.
11

12 24.      On April 24 2024, Defense Counsel served financial account disclosures

13 Ordered by the Court to Plaintiffs’ Counsel.

14
     25.    On May 1, 2024, Plaintiffs’ Counsel served their First Request for Production
15

16 of Documents and Information to Jurisdictional Defendants.

17 26.      On May 11, 2024, Defense Counsel served their Response to Plaintiffs’ First
18
     Request for Documents and Informational to Jurisdictional Defendants.
19

20   27. On May 12, 2024, Plaintiffs’ Counsel complained about the tax returns
21   provided, despite the production of all tax returns except for Michael Day’s 2022 tax
22
     return, which was subsequently supplemented on May 17, 2024. See Declaration of
23

24   William Shibley in Support of Response to Motion for Sanctions (“Declaration of
25
     Shibley”).
26

27

28
                                                      -9-
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 10 of 22 Page ID
                                           #:1207



 1 28.      On May 14, 2024, Plaintiffs’ Counsel threatened sanction, yet again, and
 2
     continued to complain about the tax returns produced. See Declaration of Shibley;
 3

 4 Exhibit C.

 5 29.      On May 15, 2024, Defense Counsel requested a list of deficiencies from
 6
     Plaintiffs’ Counsel, but Plaintiffs’ Counsel refused to outline the specific
 7

 8 deficiencies. Instead, Plaintiffs’ Counsel referred to “email threads that list discovery

 9 deficiencies.” After Defense Counsel review email correspondence, Defense
10
     Counsel again asked for clarification to which Plaintiffs’ Counsel responded, “We're
11

12 at an impasse. I've shown plenty of patience regarding these urgent discovery

13 matters, and I plan to move for sanctions now.” See Declaration of Shibley; Exhibit

14
     A; Exhibit B.
15

16   30. On May 17, 2024, Plaintiffs’ Counsel and Defense Counsel held discussions
17   regarding discovery, during which both parties appeared to have resolved the
18
     pertinent discovery issues. However, later that same day, Plaintiffs’ Counsel
19

20   changed their position and insisted on further discovery. See Declaration of Shibley;
21   Exhibit A; Exhibit B.
22
     31.    Also on May 17, 2024, Defense Counsel served Supplemental Responses to
23

24 Plaintiffs’ First Request for Documents and Informational and Michael Day’s 2022

25 Tax Return. See Declaration of Shibley; Exhibit A; Exhibit B.

26
     32. Following numerous productions, Plaintiffs' Counsel persists in requesting
27

28   that Jurisdictional Defendants furnish written confirmation that the tax returns
                                                      - 10 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 11 of 22 Page ID
                                           #:1208



 1   provided correspond accurately to those filed with the IRS, excluding signatures,
 2
     and affirm that no additional tax returns have been submitted to the IRS for 2021 or
 3

 4   later. Furthermore, Plaintiffs' Counsel insists on the complete removal of all

 5   redactions from tax returns, barring those permissible under federal regulations or
 6
     protective orders. Plaintiffs’ Counsel is also seeking sanctions against Jurisdictional
 7

 8   Defendants and Defense Counsel, proposing that the court mandate Defendants'

 9   attorneys to pay two thousand dollars ($2,000) per day for each violation of the
10
     orders since the compliance deadline. Additionally, Plaintiffs’ Counsel requests
11

12   reimbursement of Plaintiffs' attorneys' fees incurred in ensuring Defendants'

13   compliance with the orders. Lastly, Plaintiffs’ Counsel advocates for the
14
     incarceration of Jurisdictional Defendants until substantial compliance with the
15

16   court's directives is achieved. See Exhibit 2, May 17, 2024 Correspondence from
17   Plaintiffs’ Counsel to Defense Counsel.
18
     33.    On May 17, 2024, Plaintiffs’ Counsel served their first set of twenty-nine (29)
19

20 Subpoenas Duces Tecum.

21 34.      On May 29, 2024, Plaintiffs’ Counsel modified these Subpoenas.
22
     35.    On May 30, 2024, Plaintiffs Counsel served another set of twenty-eight (28)
23

24 Subpoenas and on June 7, 2024, Plaintiffs’ Counsel filed an additional two (2)

25 Subpoenas.

26
     36.    In addition to the persistent and unwarranted ex parte filings and superfluous
27

28 motions, Plaintiffs’ Counsel has engaged in venue shopping and has sought
                                                      - 11 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24    Page 12 of 22 Page ID
                                           #:1209



 1 sanctions in numerous other cases, including Benjamin David v. Wealth Assistants

 2
     LLC and Individual Claimants v. Wealth Assistants LLC, both of which are currently
 3

 4 in arbitration, the appropriate forum for this case as well. See Declaration of Shibley;

 5 Exhibit C.

 6

 7                           III. ARGUMENT AND AUTHORITIES
 8
     37.    Plaintiff has moved for sanctions under the court’s inherent power and under
 9
     Federal Rules of Civil Procedure 37(b)(2)(C). Sanctions against the Defendants
10

11 under the Court’s inherent power are inappropriate because:

12
            a.      Defendants substantially complied with the Court’s order and did not
13
            willfully disobey;
14

15          b.      Any shortcoming of the Defendants’ discovery responses was
16
            justifiable given the complexity of the case and expedited nature of the
17
            Court’s order; and
18

19          c.      A total failure to respond is required before imposing sanctions. This is
20
            a complex case with twenty (20) defendants with multiple accounts, and
21

22
            Defendants substantially complied with the Court’s order.

23 38.      Sanctions against Defense Counsel are inappropriate because no evidence
24
     exists that Defense Counsel is at fault for any perceived shortcomings in
25

26
     Defendants’ discovery responses.

27

28
                                                      - 12 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 13 of 22 Page ID
                                           #:1210



 1   A.     Sanctions Under the Court’s Inherent Power are Inappropriate Because
 2          the Defendants Substantially Complied with The Court’s Order and Did
            Not Willfully Disobey the Court’s Order
 3

 4 39.      The court must exercise its inherent power to sanction “with restraint and
 5
     discretion” because of its “very potency.” Chambers v. NASCO, Inc., 501 U.S. 32,
 6

 7 44 (1991) ; See Thomas v. Tenneco Packaging Co., 293 F.3d 1306, 1320 (11th Cir.

 8 2002); In re First City Bancorporation, 282 F.3d 864, 867 (5th Cir.2002).

 9
     40.    The court can only sanction under its inherent power for bad faith, willful
10

11 disobedience of a court order, or fraud on the court. Chambers, 501 U.S. at 45–46;

12 See Holgate v. Baldwin, 425 F.3d 671, 62 Fed. R. Serv. 3d 1077 (9th Cir. 2005);

13
     America Unites for Kids v. Rousseau, 985 F.3d 1075, 1090 (9th Cir.2021).
14

15 41.      The subjective bad faith required to warrant sanctions pursuant to the court's
16 inherent power requires proof of deliberate fraud or wrongdoing. S.E.C. v. Smith,

17
     798 F. Supp. 2d 412 (N.D. N.Y. 2011), stay pending appeal denied, 2011 WL
18

19 13136031 (N.D. N.Y. 2011) and aff'd in part, dismissed in part, 710 F.3d 87 (2d Cir.

20 2013). For example, in the Ninth Circuit, even recklessness is an insufficient basis

21
     for sanctions under the courts' inherent power. Fink v. Gomez, 239 F.3d 989, 993-94
22

23 (9th Cir. 2001).

24 42.      While the court can usually authorize sanctions under its inherent power even
25
     when there are procedural rules or statutes that sanction the same conduct, the court
26

27 should not rely on its inherent power if the conduct can be adequately sanctioned

28
                                                      - 13 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 14 of 22 Page ID
                                           #:1211



 1 under an FRCP or a statute. See Chambers, 501 U.S. at 49–50; Schlafly v. Eagle

 2
     Forum, 970 F.3d 924, 936 (8th Cir.2020).
 3

 4 43.      TURNING TO THE PRESENT CASE, there is no evidence before the Court

 5 of bad faith, only unreasonable expectations given the complexity of the case and the

 6
     expedited nature of the discovery process thus far. Defendants of substantially
 7

 8 complied with every discovery request by Plaintiff’s Counsel and have made

 9 numerous efforts to consult with Plaintiff’s Counsel when he asked for additional
10
     discovery. These are not the acts of party acting in bad faith. See Declaration of
11

12 Shibley; Exhibit A; Exhibit B.

13 44.      Discovery issues come up in simple cases with fewer parties and more time to
14
     do a thorough search for documents. Parties are supposed to work out those issues in
15

16 an interactive process. That is what has happened here, as much as possible, and it

17 falls far short of bad faith, willful disobedience, deliberate fraud, wrongdoing, or

18
     recklessness, as required by the Ninth Circuit. See Declaration of Shibley; Exhibit A;
19

20 Exhibit B.

21 45.      Plaintiff’s Counsel automatically assumes that the absence of responsive
22
     documents is proof of non-compliance, and that any discrepancy with previous
23

24 discovery is proof of a conspiracy that includes opposing counsel. There are no

25 jewel movements in life; instead, it is full of inconsistencies and mistakes. Discovery

26
     is supposed to be a process where parties sift through evidence to get to the right
27

28
                                                      - 14 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 15 of 22 Page ID
                                           #:1212



 1 information. Unfortunately, Plaintiff’s Counsel abandoned that approach long ago.

 2
     See Declaration of Shibley; Exhibit A; Exhibit B.
 3

 4 46.      Plaintiffs’ Counsel’s working assumptions have resulted in inappropriate

 5 requests for sanctions twice before. See Exhibit 1. This is abusive and

 6
     unprofessional, particularly where there is no affirmative evidence showing any
 7

 8 wrongful act by anyone, including Plaintiff Counsel.

 9 47.      Plaintiffs’ Counsels’ efforts to obtain sanctions against Defendants have failed
10
     every time. This time should be no different. See Exhibit 1.
11

12 48.      Two other matters are worthy of note. First, Defendants accounts have been

13 frozen. That means that whatever money is there will be there while this lawsuit

14
     proceeds. Moreover, records will be kept of any transactions made related to any
15

16 funds in these accounts.

17 49.      Second, tracking down money is a familiar process. Plaintiff’s Counsel has
18
     sent requests to Defendants, Defendants have responded as best they can, and will
19

20 continue to supplement. The next step for Plaintiff’s Counsel is to subpoena all the

21 financial institutions named in Defendant’s production, which he has done. The next

22
     step is to review the records produced by the financial institutions and track the
23

24 movements of funds to and from those accounts and compare those to the production

25 from Defendants. Those transaction records will confirm or disprove Defendants’

26
     position.
27

28
                                                      - 15 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 16 of 22 Page ID
                                           #:1213



 1 50.      The advantage of this process is that it is independent of the production by
 2
     Defendants. No amount of foot stomping or indignation can force more production
 3

 4 from either fully compliant parties, like Defendants, or parties committed to

 5 misleading the opposing party. Instead, the production that is received from

 6
     Defendants is compared to the records maintained by third parties.
 7

 8   B.     Sanctions Under Federal Rules of Civil Procedure 37(B)(2)(C) are
            Inappropriate Because Any Short Coming of the Defendants’ Discovery
 9          Responses was Justifiable Given the Complexity of the Case and
10          Expedited Nature of the Court’s Order

11 51.      Sanctions are inappropriate under Federal Rule of Civil Procedure 37(b)(2)(C)
12
     when the opposing party's nondisclosure, response, or objection was substantially
13
     justified. FRCP 37(b)(2)(C); See, for example, Sik Gaek, Inc. v. Harris, 789 F.3d
14

15 797, 800 (7th Cir.2015) (court did not award expenses where party from whom

16
     discovery was sought made significant efforts to satisfy opposing party’s discovery
17
     requests); Brewer v. Leprino Foods Co., Inc., 2019 WL 356657, at *5-7 (E.D. Cal.
18

19 Jan. 29, 2019).

20
     52.    TURNING TO THE FACTS AT HAND, Defendants’ discovery responses
21
     were entirely justifiable given the number of Defendants involved (20), and the
22

23 expedited nature of the Court’s order. In short, Defendants did the best they could,

24
     and have shown themselves willing to supplement and meet Plaintiffs’ Counsel’s
25

26
     additional requests. Defendants are aware they have a continuing obligation to

27

28
                                                      - 16 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 17 of 22 Page ID
                                           #:1214



 1 supplement, and fully intend to fulfill that duty. See Declaration of Shibley; Exhibit

 2
     A; Exhibit B.
 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      - 17 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24    Page 18 of 22 Page ID
                                           #:1215



 1   C.     Sanctions Under Federal Rules of Civil Procedure 37(B)(2)(C) Would be
 2          Unjust Because a Total Failure to Respond is Required Before Imposing
            Sanctions. This Is a Complex Case with Twenty (20) Defendants with
 3          Multiple Accounts, and Defendants Substantially Complied with the
 4          Court’s Order.

 5 53.      Sanctions are also inappropriate when other circumstances make sanctions
 6
     unjust. FRCP 37(b)(2)(C); See, Leprino Foods Co., Inc., 2019 WL 356657, at *5-7;
 7
     Insurance Corp. of Ir., Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694,
 8

 9 707 (1982); CEATS, Inc. v. TicketNetwork, Inc., 71 F.4th 314, 324 (5th Cir. 2023).
10
     The Ninth Circuit requires a total failure to respond before sanctions can be
11
     awarded under Rule 37(b). Fjelstad v. American Honda Motor Co., 762 F.2d 1334,
12

13 1339–40 (9th Cir.1985).

14
     54.    Defendants’ substantial compliance with the Court’s order and Plaintiffs’
15
     discovery requests forecloses sanctions as a matter of Ninth Circuit law. See
16

17 Declaration of Shibley; Exhibit A; Exhibit B. Because Defendants have substantially

18
     complied, they have not totally failed to respond. Plaintiffs’ Counsel may be
19
     dissatisfied with the production so far, even very dissatisfied, but the Ninth Circuit
20

21 holds that only total failure is sufficient.

22
     D.     Sanctions Against Defense Counsel are Inappropriate Because No
23          Evidence Exists That Defense Counsel is at Fault for Any Perceived
24
            Shortcomings in Defendants’ Discovery Responses

25
     55.    TURNING TO THE FACTS AT HAND, the party against whom the
26

27
     sanctions are applied must be at fault before any sanction can be applied. U.S. v.

28 Sumitomo Marine & Fire Ins. Co., Ltd., 617 F.2d 1365, 1369 (9th Cir. 1980) (citing
                                                      - 18 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 19 of 22 Page ID
                                           #:1216



 1 Cine Forty-Second St. Theatre Corp. v. Allied Artists Pictures Corp., 602 F.2d 1062,

 2
     1066 (2d Cir. 1979)).
 3

 4 56.      There is no evidence before the court that Defense Counsel has done anything

 5 wrongful or that would make them at fault. See Declaration of Shibley; Exhibit A;

 6
     Exhibit B. The absence of evidence should never be used as evidence in matters as
 7

 8 serious as the imposition of sanctions.

 9 57.      TURNING TO THE FACTS AT HAND, even if Plaintiffs’ Counsel finds
10
     inconsistencies between documents and information produced by Defendants, that
11

12 does not mean that Defense counsel did not follow proper procedures for gathering

13 those documents and information.

14
     58.    The more likely reason that Plaintiffs’ Counsel is asking the Court to let him
15

16 make Plaintiffs’ Counsel pay is he knows that the Defendants likely have no assets

17 to satisfy daily penalties (which are not warranted in this case; see below). The

18
     Defendants’ lack of assets is not a fact suggesting fault on the part of Defense
19

20 Counsel and cannot justify sanctions against Defense Counsel.

21   E.     Any Sanctions Imposed Should be Lenient Because Courts Use Less
22          Stringent Sanctions When They Would be Reasonably Suited to Deter the
            Acts in Question
23

24
     59.    In imposing discovery sanctions, courts consider both sufficiency of less

25 stringent sanctions and need for deterrence. Satcorp Intern. Group v. China Nat.

26
     Import & Export Corp., 917 F.Supp. 271 (S.D.N.Y.1996), vacated in part 101 F.3d
27

28 3.
                                                      - 19 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24   Page 20 of 22 Page ID
                                           #:1217



 1 60.      Discovery sanctions may serve dual purposes of deterrence and compensation,
 2
     but punishment should be reasonably suited to crime whether deterrence or
 3

 4 compensation is the goal. In re Williams, Bkrtcy.D.R.I.1995, 188 B.R. 721, affirmed

 5 in part, vacated in part 215 B.R. 289, appeal dismissed 156 F.3d 86, rehearing and

 6
     suggestion for rehearing en banc denied 158 F.3d 50, certiorari denied 119 S.Ct.
 7

 8 905, 525 U.S. 1123, 142 L.Ed.2d 904.

 9 61.      A court may impose a severe sanction only when the party's conduct has
10
     substantially prejudiced the opposing party. E.g., FDIC v. Conner, 20 F.3d 1376,
11

12 1380–81 & n.3 (5th Cir.1994) (violation of order compelling answers to

13 interrogatories did not prejudice opposing party enough to justify dismissal of

14
     claims); See e.g., Bass v. Jostens, Inc., 71 F.3d 237, 241–42 (6th Cir.1995)
15

16 (complete refusal to answer interrogatories for over a year hindered other party’s

17 ability to conduct discovery); See also Wilson v. Volkswagen, 561 F.2d 494, 504–05

18
     (4th Cir. 1977) (amount of prejudice necessarily includes inquiry into materiality of
19

20 evidence not produced).

21 62.      A court should not impose a severe sanction if a lesser sanction would provide
22
     adequate deterrence. CEATS, Inc., 71 F.4th at 324–25; The Procter & Gamble Co. v.
23

24 Haugen, 427 F.3d 727, 738 (10th Cir. 2005); Founding Ch. of Scientology v.

25 Webster, 802 F.2d 1448, 1459 (D.C. Cir. 1986); Universal Health Group v. Allstate

26
     Ins. Co., 703 F.3d 953, 956 (6th Cir. 2013).
27

28
                                                      - 20 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24         Page 21 of 22 Page ID
                                           #:1218



 1 63.      TURNING TO THE FACTS AT HAND, given the complexity of the case,
 2
     the expedited nature of the discovery process so far, Defendants’ substantial
 3

 4 performance with the Court’s order, and Defendants’ efforts to confer with

 5 Plaintiffs’ Counsel to satisfy his requests, only the most lenient sanction is

 6
     appropriate here. Declaration of Shibley; Exhibit A; Exhibit B. Even payment of
 7

 8 Plaintiffs’ attorney fees seems heavy handed given that Plaintiffs’ Counsel has a

 9 pattern of filing motions for sanctions that are inappropriate, as is the case here.
10

11                                        IV. CONCLUSION
12
     64.    Based on the foregoing and for good cause shown, Defendants respectfully
13
     request that this Court deny Plaintiffs’ Motion for Sanctions Against Jurisdictional
14

15 Defendants and for such other and further relief to which the Defendants may show

16
     themselves to be justly entitled.
17
     Dated:         June 7, 2024.                         Respectfully submitted,
18

19
                                                          By: /s/ William H. Shibley
20                                                        William H. Shibley
21

22

23

24

25

26

27

28
                                                      - 21 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
Case 2:24-cv-02886-WLH-SK           Document 64 Filed 06/07/24         Page 22 of 22 Page ID
                                           #:1219



 1

 2

 3

 4

 5                              CERTIFICATE OF COMPLIANCE
 6
          The undersigned, counsel of record for Defendants, certifies that this Motion
 7   contains 3,603 words, which complies with the word limit of L.R. 11-6.1
 8
                                                          By: /s/ William H. Shibley
 9                                                        William H. Shibley
10

11

12
                                   CERTIFICATE OF SERVICE
13

14        I hereby certify that a true and correct copy of the foregoing document, and
     any attachments, will be served to counsel of record, in accordance with the
15   governing rules of procedure regarding service in this court on this June 7, 2024,
16   via email as follows:
17

18                                                        By: /s/ William H. Shibley
                                                          William H. Shibley
19

20

21

22

23

24

25

26

27

28
                                                      - 22 -
     DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR SANCTIONS
